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Orsted North America Inc.


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 SAVE LONG BEACH ISLAND and ROBERT                    Case No.: 3:23-cv-01886-ZNQ-JBD
 STERN,
                                                      Judge Zahid N. Quraishi
              Plaintiffs,                             Magistrate Judge J. Brendan Day

       v.                                             ORDER GRANTING MOTION TO
                                                      INTERVENE
 U.S. DEPARTMENT OF COMMERCE; GINA
 RAIMONDO, in her official capacity as Secretary of
 Commerce; NATIONAL MARINE FISHERIES
 SERVICE; and JANET COIT, in her official capacity
 as Director, National Marine Fisheries Service,

              Defendants.
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         Upon consideration of the Motion to Intervene filed by Orsted North America Inc.

(“Intervenor”), the relevant briefing and legal authorities, and the other submissions before this

Court,

         IT IS HEREBY ORDERED that Intervenor’s Motion to Intervene as of Right under

Federal Rule of Civil Procedure 24(a) is GRANTED; and it is further

         ORDERED that Intervenor shall file its Answer or other responsive pleading by the same

deadline as Federal Defendants or three days after the entry of this Order, whichever is later.

         SO ORDERED on this 19th day of May, 2023.




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